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Attorneys for Defendants Gerald E. Mortimer, M.D.

and Linda G. McKinnon Mortimer

IN THE UNITED STATES DISTRICT

COURT FOR THE DISTRICT OF IDAHO

KELLI ROWLETTE, an individual,

SALLY ASHBY, an individual, and

HOWARD FOWLER, an individual,
Plaintiffs,

VS.

GERALD E. MORTIMER, M.D., LINDA G.

McKINNON MORTIMER, and the marital
community comprised thereof, and
OBSTETRICS AND GYNECOLOGY
ASSOCIATES OF IDAHO FALLS, P.A. an
Idaho professional corporation,

Defendants.

 

 

Case No. 4:18-CV-00143-DCN

DEFENDANTS GERALD E.
MORTIMER, M.D. AND LINDA G.
McKINNON MORTIMER’S
ANSWER TO PLAINTIFFS’
COMPLAINT AND DEMAND FGR
JURY TRIAL

COME NOW Defendants, Gerald E. Mortimer, M.D. and Linda G. McKinnon Mortimer

(collectively referred to as “Dr. Mortimer”), by and through their undersigned counsel of record,

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR .TURY TRIAL - l

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Powers Tolman Farley, PLLC, and in answer to Plaintiffs’ Complaint and Demand for Jury Trial
(hereinafter “Plaintiffs’ Complaint”), admit, deny, and allege as follows:
FIRST DEFENSE
Plaintiffs’ Complaint, and each and every allegation contained therein, fails to state a claim
against Dr. Mortimer upon which relief may be granted.
SECOND DEFENSE
Plaintiffs’ Complaint fails to state a claim against Linda G. McKinnon Mortimer (Mrs.
Mortimer) upon which relief can be granted since she did not provide medical care to Plaintiffs,
she did not have a special relationship with any of the Plaintiffs to establish any duty, she was not
in privity with any of the Plaintiffs, and Mrs. Mortimer had no contact whatsoever with Plaintiffs.
Thus, for ease of reference, these answering Defendants are collectively referred to as “Dr.
Mortimer.”
THIRD DEFENSE
Based either upon a lack of information or belief that certain allegations contained in
Plaintiffs’ Complaint are untrue, Dr. Mortimer denies each and every allegation set forth in
Plaintiffs’ Complaint that is not expressly and specifically admitted hereinafter
FOURTH DEFENSE
Where allegations are directed to others besides Dr. Mortimer, or involve facts or claims
which Dr. Mortimer does not have sufficient knowledge or information to admit or deny, no
response is believed to be necessary. To the extent a response is required, such allegations are
denied.
FIFTH DEFENSE
With respect to the specific allegations contained in Plaintiffs’ Complaint, Dr. Mortimer
admits, denies, and/or alleges as follows:

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL - 2

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Dr. Mortimer admits the allegation contained in paragraph 4 of Plaintiffs’ Complaint.

In answering paragraph 5 of Plaintiffs’ Complaint, Dr. Mortimer admits only that he and
Mrs. Mortimer are husband and wife, and reside in Bonneville County, Idaho. Dr. Mortimer denies
the remainder of the allegations.

In answering paragraph 7 of Plaintiffs’ Complaint, Dr. Mortimer admits that the
controversy is between citizens of different states and that Dr. Mortimer provided medical care to
Plaintiff Sally Ashby in Bonneville County, Idaho. Dr. Mortimer denies the remainder of the
allegations.

In answering paragraph 10 of Plaintiffs’ Complaint, Dr. Mortimer admits only that Ms.
Ashby was having difficulty conceiving a child and was a patient of Dr. Mortimer’s, an OB/GYN.
Dr. Mortimer denies the remainder of the allegations

In answering paragraph ll of Plaintiffs’ Complaint, Dr. Mortimer admits only that he
examined Ms. Ashby to ascertain the cause of her reproductive difficulties. Dr. Mortimer admits
Mr. Fowler had low sperm count and low motility. Dr. Mortimer denies the remainder of the
allegations.

In answering paragraph 12 of Plaintiffs’ Complaint, Dr. Mortimer admits only that he
suggested that Ms. Ashby could consider undergoing artificial insemination with donor
sperm/semen to increase the opportunity for conception Dr. Mortimer denies the remainder of
the allegations and specifically denies Plaintiffs’ definition of the “procedure.”

In answering paragraph 13 of Plaintiffs’ Complaint, Dr. Mortimer admits only that Ms.
Ashby decided to undergo artificial insemination with donor sperm/semen. Dr. Mortimer denies

the remainder of the allegations.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. MCKINNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL - 3

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In answering paragraph 14 of Plaintiffs’ Complaint, Dr. Mortimer admits only that he
informed Ms. Ashby that he had access to donor sperm/Semen. Dr. Mortimer denies the remainder
of the allegations

In answering paragraph 15 of Plaintiffs’ Complaint, Dr. Mortimer admits only that he
collected sperm/semen from Mr. Fowler to artificially inseminate Ms. Ashby. Dr. Mortimer denies
the remainder of the allegations.

In answering paragraph 16 of Plaintiffs’ Complaint, Dr. Mortimer denies he performed the
“procedure” as that term is defined in paragraph 12. Dr. Mortimer admits only that Ms. Ashby
decided to use anonymous donor sperm/semen in an artificial insemination process as long as, in
Dr. Mortimer’s judgment, the anonymous donor sperm was appropriate and safe. Dr. Mortimer
has no recollection of having utilized his sperm/semen in the artificial insemination process with
Ms. Ashby, and therefore, denies the allegations in paragraph 16.

In answering paragraph 18 of Plaintiffs’ Complaint, Dr. Mortimer admits that artificial
insemination was performed on Ms. Ashby in June of 1980. Dr. Mortimer denies the remainder
of the allegations

In answering paragraph 19 of Plaintiffs’ Complaint, Dr. Mortimer admits that he delivered
Ms. Ashby’s daughter on May 20, 1981. Dr. Mortimer denies the remainder of the allegations.

In answering paragraph 20 of Plaintiffs’ Complaint, Dr. Mortimer admits that he continued
to be Ms. Ashby’s OB/GYN for several years. Dr. Mortimer denies the remainder of the
allegations

SIXTH DEFENSE
At all relevant times, Dr. Mortimer’s conduct was appropriate under Idaho Code §§ 6-1012

and 6-1013 and no act or omission of Dr. Mortimer proximately caused Plaintiffs’ damages, if any.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR IURY TRIAL - 4

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AFFIRMATIVE DEFENSES
By pleading certain defenses as “affirmative defenses,” Dr. Mortimer does not imply that
he has the burden of proof for any such defense, Furthermore, Dr. Mortimer has not had the
opportunity to conduct discovery in this case, by failing to raise an affirmative defense, he does
not waive any such defense and specifically reserves the right to amend his Answer to include
additional affirmative defenses
FIRST AFFIRMATIVE DEFENSE
Plaintiffs’claims are barred by the statute of limitations set forth in Idaho Code §§ 5-216,
5-217, 5-218, 5-219, and 48-619.
SECOND AFFIRMATIVE DEFENSE
Plaintiffs Kelli Rowlette and Howard Fowler lack standing to assert claims against Dr.
Mortimer in this action and are not real parties in interest.
THIRD AFFIRMATIVE DEFENSE
Plaintiffs lack standing to assert claims against Mrs. Mortimer in this action.
FOURTH AFFIRMATIVE DEFENSE
There is no doctrine recognized in Idaho to support a claim of damages based on a benefit
to the marital community.
FIFTH AFFIRMATIVE DEFENSE
The gravamen of Plaintiffs’ claims sound in medical malpractice and are governed by
Idaho Code §§ 6-1012 and 6-1013; therefore, all other claims are improper and should be barred.
SIXTH AFFIRMATIVE DEFENSE
Plaintiffs’ injuries and damages, if any, may be subject to Idaho Code §§ 6-1602, 6-1603,
6-1604, and 6-1606. By alleging this defense, Dr. Mortimer does not admit negligence in any
degree but, to the contrary, specifically deny negligence.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKlNNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL - 5

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SEVENTH AFFIRMATIVE DEFENSE

The claims of Plaintiffs’ Sally Ashby and Howard Fowler are barred by the doctrine of

unclean hands
EIGHTH AFFIRMATIVE DEFENSE

Plaintiffs failed to mitigate their damages, if any, and therefore any damages must be

reduced accordingly.
NINTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims of fraud are barred because of its failure to plead the cause of action with
particularity and the statements upon which it relies are not statements of fact but are statements
of opinion; therefore, Plaintiffs alleged reliance was unreasonable

TENTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred by the doctrine of assumption of risk.
ELEVENTH AFFIRMATIVE DEFENSE

The acts, omissions, negligence, or fault of persons or entities other than Dr. Mortimer
constitutes comparative negligence, which bars or reduces Plaintiffs’ recovery against Dr.
Mortimer, if any, pursuant to Idaho Code 6-801. By alleging this defense, Dr. Mortimer do not
admit negligence in any degree but, to the contrary, specifically deny negligence

TWELTH AFFIRMATIVE DEFENSE

Plaintiffs’ injuries and damages, if any, were proximately caused, in whole or in part, by

the superseding, intervening acts, omissions, negligence or fault of others for whom Dr. Mortimer

is not responsible.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKl'NNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL - 6

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THIRTEENTH AFFIRMATIVE DEFENSE

Plaintiffs failed to mitigate their damages if any, and Dr. Mortimer cannot be held liable

for any such damages that Plaintiff could have mitigated
DEMAND FOR JURY TRIAL

Defendants hereby demand a trial by jury on all issues so triable in accordance with Rule

38 of the F ederal Rules of Civil Procedure.
REOUEST FOR ATTORNEY’S FEES

Defendants have been required to retain the services of the law firm of Powers Tolman
Farley, PLLC in order to defend this action and Will continue to incur reasonable attomey’s fees
and costs based upon the time expended in their defense. Defendants, therefore, allege and hereby
make a claim against Plaintiffs for recovery of their reasonable attomey’S fees and costs incurred
in defending this action, pursuant to Idaho Code §§ 12-120 and 12-121, and Rule 54, Federal Rule
of Civil Procedure.

WHEREFORE, Defendants pray for judgment against Plaintiffs as follows:

1. That Plaintiffs take nothing against these answering Defendants by way of their
Complaint and that said Complaint be dismissed with prejudice;

2. That the costs, disbursements and reasonable attomey’s fees incurred in the
defense of this action be awarded to these answering Defendants; and,

3. For such other and further relief as this Court may deem just and proper.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S ANSWER TO
PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL - 7

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DATED this N day ofMay, 2018.

POWERS TOLMAN FARLEY, PLLC

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ByRaymond D. Powers- Of the Firm

Portia L. Rauer- Of the Firm

Attorneys for Defendants Gerala' E. Mortimer,
M.D. and Linda G. McKinnon Mortimer

CERTIFICATE OF SERVICE

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I HEREBY CERTIFY that on the 36 _ day of May, 2018, I caused to be served a true

copy of the foregoing DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G.
McKINNON MORTIMER’S ANSWER TO PLAINTIFFS’ COMPLAINT AND DEMAND
FOR JURY TRIAL, electronically through the CM/ECF system, which caused the following
parties or counsel to be served by electronic means, as more fully reflected on the Notice of

Electronic Filing:

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kdi "" § ; / \

Raymond D. Powers
Portia L. Rauer

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S ANSWER TO
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